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De|ivered by emai| to:

LinhThu Do@txs.uscourts.gov (9.18pm GlV|T + 1, June 7, 2018)

June 7, 2018

United States Courthouse
United States Bankruptcy Court
Southern District of Texas
Houston Division

515 Rusk Avenue

Houston, TX 77002.

Attention: The Court Case Manager, Ms. LinhThu Do
Dear Ms. LinhThu Dol

CASE NUMBER: 18-32106 DEBTORS’ EMERGENCY MOT|ON FOR THE ENTRY OF AN
ORDER PURSUANT TO SECT|ONS 105 (A) AND 362 OF THE BANKRUPTCY CODE -
LETTER UNDER PROTEST

The above subject matter and our previous letter to you dated May 8, 2018 refer.

We remain Counsel to Zenith Bank P|c, a Secured Creditor of Erin Petroteum Nigeria Limited
(both companies registered under the laws of the Federai Republic of Nigeria). We write this
letter to reiterate our opposition to the attempts by the Applicant to drag two Nigerian
companies, Zenith Bank Plc (a secured creditor of Erin Petroleum Nigeria Limited) and Erin
Petro|eum Nigeria Limited into the proceedings before the Honorab|e Court of Judde lVlarvin
lsgur. Our previous letter to you aforesaid, annexed an Aftidavit of Facts which set out a
number of facts of the relationship between Erin Petroleum Nigeria Limited and Zenith Bank
Plc which had not previously been brought to the Court’s attention. Our letter and Aflidavit
further detailed our opposition to these proceedings specifically on the ground that this
Honorab|e Court, with respect, lacks the requisite jurisdiction to deal with the matters brought
before it in relation to Erin Petroleum Nigeria Limited and Zenith Bank Plc.

For the avoidance of doubt, Zenith Bank Plc asserts that this Ho-norable Court has no

jurisdiction to deal with the matters that have been brought before it respecting the said

Nigerian companies for the following reasons: *.

1. That Erin Petroleum Nigeria Limited, obtained the Order of the Federal High Court
made on May 25, 2018 (registering the Judgment/Order of the United States
Bankruptcy Court for the Southern District of Texas, Houston Division, in the case of
Erin Energy Corporation et al (Debtors)l Case No. 18-32186 made on the May 1, 2018)
by suppressing and concealing material facts from the Court.

or M. Ajogwu. sAN, FclArb; meeswr F. Ajogwu. sAN, Fc:Arb; :. lmhanze, AclArb tulo; c. Nwabulu; al ` 9 J\Q\W
M. Echo' J. Faku|uda, AC|Arb (UK); C. Onuoma; M. Sowunmi; O. Ekweanya; T. Kachikwu; A. Adeniyi; " ~’ '
l<. Erhonsele; A. Odekun|e; U. Umukoro; O. O|umide, AC|Arb {UK]; B. Osazuwa; A. Yusu‘f;
N. Jo-Madugu; A. Okafor; O. Makinde; O. Oianrewaju; J. lyoke; C. Akachukwu; J. Nimpar;
P. Udeh; G. Oyewo|e; E. A|asa; F, Fawehinmi; C. Ezei|o; G. Osoka; C. lke-Nwabuoku

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. That Zenith Bank Plc is not a party to the Vo|untary Petition for Chapter 11 Bankruptcy
filed under the United States Bankruptcy code from which the Judgmentlorder of the
United States Bankruptcy Court for the Southern District of Texas dated May 1, 2018
arose.

. That Erin Petro|eum Nigeria Limited, being a Company incorporated at the Corporate
Affairs Commission (CAC), under the Companies and Allied Matters Actl Cap CZO,
Laws of the Federation of Nigerial 2004 (CAMA) is a Nigerian Company, governed and
subject to Nigerian Laws and matters relating to arrangement and compromise
involving a company incorporated under the Laws of Nigeria have been sufficiently
provided for from sections 537 - 540 of CAMA.

. That the appropriate Court clothed with jurisdiction to hear any matter relating to
arrangement and compromise with creditors of a Company incorporated under the
Laws of Nigeria is the ‘ ederal High Court of Nigeria’ to the exclusion of any other
Court; and the Judgmenthrder of the United States Bankruptcy Court for the Southern
District of Texas dated May 1l 2018, on the application of Erin Energy Corporation of
the United States of America (registered by an order of this Honourable Court made
on May 25, 2018) is an attempt to usurp the powers of the Federal High Court of Nigeria
as conferred upon it by section 251 of the 1999 Constitution of the Federal Republic of
Nigeria (as amended) and section 567 of CAMA.

. That in view of the grounds contained in paragraphs 3 and 4 above, the United States
Bankruptcy Court for the Southern District of Texas lacked the requisite jurisdiction to
make the Judgrnent/Order made in relation to Erin Petroleum Nigeria Limited dated
lVlay 1, 2018 (now registered by an order of the Federal High Court in Nigeria made on
May 25, 2018).

. That the enforcement of the Judgmenthrder the United States Bankruptcy Court for
the Southern District of Texas dated May 1, 2018 in relation to Erin Petro|eum Nigeria
Limited (now registered by an order of the Federal High Court in Nigeria made on May
25, 2018) would be contrary to public policy in Nigeria as it directly curtails the use and
exploitation of oil reserves contained in assets belonging to the Federal Government
of Nigeria in OMLs 120 and 121.

. That the Judgmenthrder made by the United States Bankruptcy Court for the
Southern District of Texas dated Nlay 1, 2018, upon the Application of Erin Energy
Corporation blurs the trite and fundamental principle of Separate Legal Personalities
as established in the locus classicus case of Sa|omon v Salomon [1877] AC 22, and
further unequivocally enshrined in Section 37 of the Companies and Allied lVlatters Act.
Cap C20, LFN, 2004; as Erin Energy Corporation and Erin Petro|eum Nigeria Limited
are distinct legal entities and an Order binding one cannot be binding oTl`the other.

. That the interest of Zenith Bank Plc being a secured creditor of Erin Petro|eum Nigeria
Limited was not considered or heard before the Judgmenthrder dated lvlay 1, 2018
was made by the United States Bankruptcy Court for the Southern District of Texas,
usurping the power of the Federal High Court of Nigeria

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9. That by all apparent facts and indicesl the United States Bankruptcy Court for the
Southern District of Texasl Houston Division in granting an order purported to bind
Zenith Bank Plc (a Nigerian licensed bank and a company which, legally speaking is
subject to Nigerian laws) in the case of Erin Energy Corporation et. al Debtors with
Case No. 18-32186, assumed universal jurisdiction.

10. That the Order of the United States’ Bankruptcy Court for the Southern District of
Texas. Houston Division, seeks to restrain a completed act as prior to the Order of this
Honourable Court made on May 25, 2018 (registering the Judgmenthrder
(“Judgment”) of the United States Bankruptcy Court for the Southern District of Texas,
in the case of Erin Energy Corporation et. al (Debtors), Case No. 18-32186 delivered
on the May 1, 2018), Zenith Bank Plc had on May 18, 2018 enforced the security
provided under the Deed of Lega| Charge between to Erin Petro|eum Nigeria Limited
and Zenith Bank Plc dated lVlay 14,.2015 by appointing a Receiverllvlanager over the
PlaintifflRespondent.

11. That Erin Petro|eum Nigeria Limited’s misrepresentation and concealment of material
facts has led to a denial of fair hearing to Zenith Bank Plc. as the application upon
which the Order of this Honourable Court made on May 25, 2018 was granted, was
brought Ex Parte, never affording Zenith Bank Plc and indeed all secured and
unsecured creditors of the Plaintiff/Respondent, the opportunity to be heard.

12. That Zenith Bank Plc as a secured creditor of the Applicant, Erin Petro|eum Nigeria
Limited1 was not a party to the Petition before the Bankruptcy Court for the Southern
District of Texas, Houston Division, in the case of Erin Energy Corporation et al
(Debtors), Case No. 18-32186.

13. That Zenith Bank Plc as a secured creditor of Erin Petro|eum Nigeria Limited and
Nigerian licensed Bank was not afforded the right to Fair Hearing as enshrined in
Section 36 of the 1999 Constitution of the Federal Republic of Nigeria (as Amended)
in the consideration of the Order of the United States Bankruptcy Court for the District
of Texas, by the Federal High Court in Nigeria.

Further to this position, Zenith Bank Plc has also taken a number of legal steps and tiled a
number of processes before the appropriate courts in Nigeria which have the jurisdiction to
deal with the relationship between Erin Petro|eum Nigeria Limited and Zenith Bank Plc and
the issues that have arisen out of that relationship The legal documents which Zenith Bank
Plc has filed in Nigeria Courts to challenge the proceedings brought in the United States by
Erin Petro|eum Nigeria Limited are pending for determination before the Nigerian Courts and
are enclosed hereto for your ease of reference They are as follows:

1. Affldavit of Facts dated May 8, 2018; a-

2. Application dated June 4, 2018 to Set Aside the Order of Nigerian Federal High Court
made on May 25, 2018; and

3. Deed of Appointment of Receiverllvlanager of Erin Petro|eum Nigeria Limited (in-
Receivership) dated May 18, 2018.

This is also without prejudice to any other further legal steps which are available to Zenith

Bank Plc within the ambit of Nigerian law.
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This letter serves therefore to request youl LinhThu Do as Case Nlanager of this Courtl or
such other officer of the Court as may be competent by law to do so, to bring this letter and its
anne)tures1 in the interest of justice, to the urgent attention of the Court before 0900 Hours
(l-louston, Texas time) on June 8, 2018; and to kindly confirm receipt by return mail.

Please accept our professional regards.

Yours sincerely,
FOR: KENNA PARTNERS

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Charles Nwabu|u, ACArb 7
Associate Partner

Enclosuresf Attachments

ln copy to, and served on

1. Erln Energy Corporation - lione|.mcbee@erinenergy.com
AND

2. Erin Energy Corporation’s Attorneys
andl or Proposed Attomeys, David L. Curry Jr.
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3. Erln Petro|eum Nigeria Limited
(Prevfousfy Known as “Camac Petrpfuem Lfd)
(Debtor to Zenith Bank Plc)
Attn: Mr Adefemi Saklru Ayoade, CEO FemiAyoade@erlnenergy.com
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